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United States Courts
Southern District of Texas

FILED
IN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF TEXAS JUL 26 204

HOUSTON DIVISION
Nathan Ochsner, Clerk of Court

IN RE: §

§
GALLERIA WEST LOOP § CASE NO. 24-32143
INVESTMENTS, LLC, § (Chapter 11)

§
Debtor §

NOTICE OF APPEAL OF ORDER DENYING RECONSIDERATION OR
MODIFICATION

(Relates to ECF No. 44 and 92)

COME NOW, Ali Choudhri, Appellant for notice of appeal of order denying
reconsideration referenced, hereby provide notice to all parties-in-interest that they desire to appeal
all portions.

1. Name of the Debtor: GALLERIA WEST LOOP INVESTMENTS, LLC.
2. Describe the Orders, Judgments, and Notices:
Order denying reconsideration or modification ECF No 92, resolving ECF 72 and 44)
3. The date on which the Order was entered:
July 10, 2024
4. Name of all parties to the Order appealed from:
Galleria West Loop Investments, LLC
Veritex Community Bank
Gene MCCubbin d/b/a PopLabs
5. Name, address and telephone number of the Appellant:
Ali Choudhri.
2425 West Loop South,
Suite 1100
Houston, Texas 77027

Ph: 281-630-6627
Email: ali@jetallcapital.com

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To have this appeal heard by the United States District Court for the Southern District of

Texas, Houston Division.

Dated: July 26, 2024.
Respectfully submitted,

/s/Ali Choudhri

Ali Choudhri, Pro Se

2425 West Loop South, 11" Floor
Houston, TX 77027
ali@jetallcapital.com

CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the above and foregoing document has been
sent to all known counsel pursuant to the Texas Rules of Appellate Procedure on this the day of

July 26, 2024.

/S/Ali Choudhri
Ali Choudhri, Pro Se

